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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION

 UNITED STATES OF AMERICA

 v.                                          CASE NO.: 2:19-cr-150-SPC-NPM

 CRAIG AUSTIN LANG


  Judge:          Kyle C. Dudek          Counsel for       Michael V. Leeman
                                         Government        Jesus Casas
  Deputy          Courtney Ward          Counsel for       Bjorn Brunvand
  Clerk:                                 Defendant:
  Court           Digital                Pretrial/         Nicholas Rice
  Reporter                               Probation
  Date/Time       June 3, 2024           Interpreter
                  1:27 PM
  Bench Time      1:27 PM-1:50 PM
                  24 minutes

              CLERK'S MINUTES – INITIAL APPEARANCE

 INITIAL APPEARANCE

 Defendant arrested on an Indictment.

 Defendant advised of rights, charges, penalties, etc.

 Defendant requests court-appointed counsel. The Court had previously
 appointed CJA counsel Bjorn Brunvand.

 Court advised the parties of the requirements of the Due Process Protections
 Act.

 DETENTION

 Government orally moves for detention based upon his extradition from
 Ukraine, serious risk of flight and danger to the community.
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 Defendant stipulates to detention at this time but reserves the right to
 request a bond hearing if circumstances change.

 ORDER OF DETENTION TO ENTER

 ARRAIGNMENT

 Defendant waives formal reading of the Indictment.

 Not guilty plea entered as to Counts One through Six of the Superseding
 Indictment.

 Trial set for the term commencing 7/1/2024 with the Status Conference on
 6/10/2024 at 9:30 AM before the Honorable SHERI POLSTER CHAPELL.
 CRIMINAL SCHEDULING ORDER TO ENTER.

 Defendant’s Oral motion for discovery and for entry of a scheduling order
 setting matter for trial.

 Government’s Oral motion for reciprocal discovery and for entry of a
 scheduling order setting matter for trial.




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